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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA                Hon. Faith S. Hochberg

             v.                          Crim. No. 10-667-02

  JOSEPH PASSALAQUA                      0 R D E R




             This matter having come before the Court on the joint

  application of Paul J. Fishman, United States Attorney for the

  District of New Jersey (by Lisa M. Colone, Assistant U.S.

 Attorney), and defendant Joseph Passalaqua (by K. Anthony Thomas,

  Esq.), for the entry of a partial restitution order in the above-

  captioned matter; and for good cause shown;
                                                Mareh
             IT IS on this    -~        day of fobrMaFJ,      2012

             ORDERED that the defendant shall make restitution in

  the amount of $39,737.98.     This number reflects a partial

  restitution payment.     Payments should be made payable to the U.S.

  Treasury and mailed to Clerk, U.S.D.C.,        402 East State Street, Rm

  2020, Trenton, New Jersey 08608, for distribution to the

  following victim:


             Praetorian Insurance Company                 $39,737.98
             York Risk Services Group, Inc.
             P.O. Box 5245
             Parsippany, NJ 07054-6245
             Attn: Recovery Unit
             Reference Claim #YKRE-003460
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             IT IS FURTHER ORDERED that the amount ordered

  represents the total amount due to this victim for its losses.

  The defendant's restitution obligation shall not be affected by

  any restitution payments made by other defendants in this case,

  except that no further payments shall be required after the sum

  of the amounts actually paid by all defendants have fully

  satisfied these losses.      The following defendant(s)      in the

  following case(s) may be subject to restitution orders to the

  same victims for these same losses:


             Raffaele Danise             Cr.   No.:   10-638-01   (FSH)
             Joseph Smith                Cr.   No.:   10-649-01   (FSH)
             Jonah Paul                  Cr.   No.:   10-667-01   (FSH)
             Dustin Groemm               Cr.   No.:   10-667-03   (FSH)
             Rashawn Landin              Cr.   No.:   10-667-04   (FSH)
             Brian Parol in              Cr.   No.:   10-667-05   (FSH)
             Erik Prascak                Cr.   No.:   10-667-06   (FSH)


             IT IS FURTHER ORDERED that the restitution is due

  immediately.    It is recommended that the defendant participate in

  the Bureau of Prisons Inmate Financial Responsibility Program

  (IFRP).   If the defendant participates in the IFRP, the

  restitution shall be paid from those funds at a rate equivalent

  to $25 every 3 months.     In the event the entire restitution is

  not paid prior to the commencement of supervision, the defendant

  shall satisfy the amount due in monthly installments of no less

  than $250 to commence 30 days after release from confinement.
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             IT IS FURTHER ORDERED that the defendant shall notify

  the United States Attorney for this district within 30 days of

  any change of mailing or residence address that occurs while any

  portion of the restitution remains unpaid.
